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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

    CEDRIC WRIGHT,                                 *
                                                   *
                Plaintiff,                         *
                                                   *
                v.                                 *       Civil Action No. 20-cv-10369-ADB
                                                   *
    PATRICIA RUZE, MD, Physician FMC               *
    Devens, et al.,                                *
                                                   *
                Defendants.                        *

                                             ORDER

BURROUGHS, D.J.

        Now before the Court is the motion of defendants Patricia Ruze, M.D., and Berhan Yeh,

M.D., to dismiss the complaint pursuant to Fed. R. Civ. P. 12(b)(5) for insufficient service of

process. [ECF No. 26]. 1 The plaintiff, pro se litigant Cedric Wright, has filed a “Declaration for

Entry of Default” with regard to defendant Ruze. [ECF No. 28]. For the reasons stated below,

the motion to dismiss is DENIED without prejudice and default shall not enter for Ruze.

I.      Failure to Serve the United States Attorney and the United States Attorney General

        Defendants Ruze and Yeh argue that service of process was insufficient because copies

of the summonses and complaint were not served on the United States Attorney for the District

of Massachusetts (“United States Attorney”) and the United States Attorney General (“Attorney

General”) as required by Fed. R. Civ. P. 4(i)(1), (3). On November 4, 2021, however, the United

States Marshals Service (“USMS”) represented to a deputy clerk that it would serve the

summonses and complaint on the United States Attorney and the Attorney General. Despite this




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  The Court writes for the parties and assumes the reader’s familiarity with the docket activity in
this case.
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representation and through no apparent fault of the plaintiff, the USMS did not complete service

on the United States Attorney or the Attorney General.

       Accordingly, the Court DENIES the motion to dismiss without prejudice and ORDERS

that the USMS promptly serve the United States Attorney for the District of Massachusetts and

the Attorney General with a copy of the complaint [ECF No. 1], summonses, the Court’s July 20,

2020 order [ECF No. 10], and this order, and that the USMS file the returns of service as soon as

possible thereafter. The Clerk shall, as needed, provide the USMS with completed forms and

papers for service.

II.    Service on Defendant Yeh Individually

       The plaintiff does not have a current address to serve defendant Yeh because Yeh is no

longer at FMC Devens. The Court hereby orders that, within twenty-one (21) days, defense

counsel shall either (1) provide a current address at which Yeh may be served; or (2) accept

service or waive service on behalf of Yeh. If counsel elects to provide an address at which Yeh

may be served, counsel may file the address under seal and the sealed address will be

communicated to the USMS. The USMS shall ensure that the address is disclosed only to

persons within the agency and that it not be included on copies of the return of service that will

be provided to the plaintiff or filed with this Court.

III.   Default

       In light of the absence of service on the United States Attorney and the Attorney General,

the Court hereby declares that defendant Ruze has not defaulted.

       IT IS SO ORDERED.

  5/25/2021                                   /s/ Allison D. Burroughs
 DATE                                         UNITED STATES DISTRICT JUDGE



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